                                 TYPE OF HEARING:
                                 CASE NUMBER:
                                 MAGISTRATE JUDGE: John    nderson
                                 DATE: 12/27/2019
                                 TIME: 2:00 PM
EASTERN DISTRICT OF VIRGINIA     TAPE: FTR RECORDER

UNITED STATES OF AMERICA

          VS.




GOVT. ATTY:                     W>\1
DEFT'S ATTY:


                 DUTY AFPD: _

INTERPRETER/LANGUAGE  :                          — Hvy\\ 1--^ Uia"-|A1^
DEFT INFORMED OF RIGHTS,CHARGES,AND PENALTIES;^
DEFT INFORMED OF THE VIOLATION (S)( )
COURT TO APPOINT COUNSEL^ FPD(^) CJA( ) Conflict List( )
               ysAgc-VVcY" SeA-                  cxy^
                                  T^ArV



BOND:




NEXT COURT APPEARANCE:                              TIME; ^-'p'Y^A
                                                  \"DV\- -I'Db

                                                          Unn^n
